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EXHIBIT A

|\/IE126187095v.l

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EFiled: Nov 08 201711:39A __ "
Transaction |D 61337089

IN THE SUPERI()R COURT OF THE S"l A'I E OF DEl AWARE
_IN AND FOR KEN T COUNTY

 

M. Denise Tolliver, Pro Se
Plaintiff
SUMMONS
v.
Deimarva Foundation for Medical Care,
Quality Health Strategies, and
Terri Daly.
Defendants

V V V `-f `-r V V V `_//

THE STATE OF DELAWARE
TO THE SHER|FF OF COUNTYZ KENT
YOU ARE COI\/IMANDED:

To summon the above named defendants so that, within 20 days after service
hereof upon defendants exclusive of the day of service, defendants shall serve upon |\/|.
Denise Tol|iver (Pro Se) whose address is 109 Gardengate Road, Camden, DE 19934,
an answer to the complaint (and, if the complaint contains a specific notation requiring
the defendant to answer any or all allegations of the complaint by affidavit, an affidavit
of defense).

To serve upon defendants a copy hereof and the complaint

Dated: November 8, 2017
Annette Ash|ey
Prothonotary

 

Per Deputy

TO THE ABOVE DEFENDANT:

|n case of your failure, within 20 days after service hereof upon you, exclusive of
the day of service, to serve on plaintiff named above an answer to the complaint (and, if
the complaint contains a specific notation requiring the defendant to answer any or all
allegations of the complaint by affidavit of defense), judgment by default will be
rendered against you for the relief demanded in the complaint

Annette Ash|ey
Prothonotary

 

Per Eeputy

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EFiled: Nov 08 201711:39A "
Transaction |D 61337089 - `

lN THE SUPERIOR COURT OF THE STAT E OF D131 AWARE
IN AN_D FOR KEN'I COU_N _FY

 

M. Denise Tolliver, Pro Se
Plaintiff
C.A. Nc.

 

v.
Delmarva Foundation for Medical Care,
Quality Health St_r_'ategies, and
'l`erri l`)aly.

Bench T;rial Demanded

. . , rt ,` t ,`

Det`endants

PRAECIPE

To: PROTH,ONOTARY
Kent County Courthouse
414 F ederal Street
'Dover, `DE 119901

PI,EASE lfSSUE SUMM()NS AND COMPLAINT, upon defendants
Delmarva Foundation for Medical Care, Quality Health Strategies, and Terri Daly
by Serving Ronald G, Forsythe, Jr., I_nte,rim President at 28464 Marlboro Avenue,
Easton, Maryland 21601-2732.

M /J,.,c, 3»~---
M. D/cnise Tolliver
Pro Se Plaintift`
109 Gardengatc Road
Carnden, D_E 19934
mdtolliver@hotmaii.com
(302) 242-1482

Datc: November 8, 2017 - l '.,,

Case 1:17-cv-01776-RGA Document 1-1

suPERIOR COURT Transaction lD 61337089
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. 7C-11-010 NEP

 

 

Capticn:

M. `Den.ise Tollivcr (Pro Sc)

 

V.

1)clmarva Foundatit)n for Medical Care,

 

Quality Health Stratcgics_, and

 

Terri Daly in_ individual and official capacities

 

     

/n“roerEY NAME($):
M. Denisc "l"ollivcr (Pro Se)
Ki_roRN_EY ID(s):

 

 

FIRM NAMi:':

A[)DRESS:

109 Gardengatc Road

 

qa_mden, nra 19934

"I`Ei,EPHONE: NuMBER:

(302) 242-11 482

civil case code: QMI§.__-

gm gage Type: CM'[S Civil Misccllancous
(SF_E RWERSI? SIDE FOR C()Dl‘; I\ND T\'PE]

 

Nama and Status of Party Hiing document

M.. Deliisc Tollivcr (P'ro Se)

 

Document 'l`ype:(E.G.,' COMPLAINT;ANSWER wmi couN'rERcLAm)

Complaint

NO _L

JURY DEMAND: YES _

IDENTIFY ANY RELATF.D CASES NOW PENDING IN THE SUPERIOR COUR'i' OR ANY
RELATED CASES `|"l'|AT |lA\/E BEEN CLOSED IN THTS COURT WHHIN THE LAS`TA
TWO YEI\RS BY CAPTION AND ClVIL AC[ION NUMBER INCLUDING JUDGE'S
INITIALS!

 

 

 

FA)< NuMBER:
N/A

E-MAJ:L At)i)REss:

 

mdtolliver@hotmai_l.com

 

 

 

    

THE PROTHONOTAR¥ WILL NOT PROCFSS THE COM|’LAINT, ANSWER, OR FIRST RESFONSIVE PLEA!)ING IN THIS MA`FTER FOR SERVlCE UNTIL
THE CA$E INFORMATION STATEMENT (CIS) IS FlLED. THE FAILURE TO FILE THE C‘IS AND HAVE THE PLEADING PROCESSED FOR SERVICE MAV
_R_§§L'I§T IN YHE DISMl._$'_)S_I_\_L OF THE COMPLAINT OR MAY RESULT IN THE ANSWER 911 FlRST RE$PONSIVE PLEADING BEING~_S__TRIC|(EN.'_

OrHER uNusuAL lssuEs ni/\‘r' AFFECr C`ASE MAN/\Gl-;Mr.-Nr:

 

 

(.IF ADDmoN/\L SPAcr: rs NEEDED, PLEASE A'\'rACH PAGE)

 

 

harm space

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Transaction |D 61337089 ~

CaSe NO. K17C-11-01O NEP
IN THE SUPERIOR COU'RT OF THE STATE OF DELAWARE

IN AND 13OR KENT COUNTY

 

)
l\/I. Denise Tolliver, Pro Se )
Plaintiff )
) C.A. No.~_ _
V- )
Delmarva Foundation for Medical Care, ) Bench Trial Demanded
Quality Health Strategies, and )
Terri Daly. )
Defendants ) il '
C()MPLAINT

1.

_Plaintiff M. Denise Tolliver tiles this action against Delrnarva Foundation for
l\/l`edical Care (“DFMC”), Quality Health Strategies (“QHS”), and Terri Daly
(“Daly’) in her individual and oflicial capacities for damages for violation of
Delaware Code Title 19 C,hapter 11 Section 1108 (3); `Delaware
Discrimination in Employment Act (“'DD]3A”) D'isability failure to
accommodate and Retaliation for engaging in protected activity; Defalnation;
and Breach of the Imp]ied Covenant of Good `l:*`aith and Faii‘ dealing for

continued employment contingent upon grant renewal in her employment as

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P_roject Supervisor in the I:~:Iealth Marketplace Guide program under
Affordable Care Act a.k.a. Obamacare.
NATURE OF THE ACTION

2. Pla_intiff was hired on October 7, 2013 during year One ending June 30, 2014
of a 2-year grant with contingent second year renewal ending June 30, 2015.
FY14, DFMC was paid grant funds in the amount of$1,106, 847 and in fFYlS,
DFMC was paid $1,027,665 or a total of $2.13 million over two years.

3. Defendants breached the implied covenant of good faith and fair dealing
which, under Delaware law, inheres in every contract having not continued
Plaintifi”s employment through year Two.

4. Defendants violated `Delaware Code Wage Payment and Collection Cha_pter
l 1 by not providing to Plaintiff notice of employment practices and policies
with regard to comparable matters -- unemployment compensation Exempt
salary employee excludes Plaintiff from overtime pay which does not extend
to Plaintiff being exempted from being eligible for unemployment
compensation

5. Defendants failed to accommodate Plaint.iff_`s disability and in retaliation
refused to hire `Plain_tiff in any other open position for which Plaintiff applied
Defendants deprived Plai'ntiff of her right to engage in protected activity of

reporting workplace injury without retaliation. lit is undisputed fact that

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10.

Defendants Stated reasons for Plaintiffnot being reinstated from lay off was
pretext

'l`his Court has jurisdiction over 1’1aintiff_`s claims and EEOC issued its _Notice
of Suit Rights August 14, 2017.

Plaintif_f is a resident of Camden, Delaware, who at all time relevant to this
Complaint was an employee of DFMC and/or QHS.

Defendant DFl\/l_'C is a State of Delawa.re vendor and Health Marketplace
Guide program grant recipient, and at all times relevant to this complaint, the
employer of Plaintiff. IRS 990 form shows DFMC is a nonprofit that during
FY2015 had 201 employees and approximately $27 million in assets; FY2014
there were 211 employees and approximately $30 million in assets
Defendant is subject to service of process at 28464 Marlboro Avenue, Easton,
l\/_Iaryland 21601-2732

Defendant Ql_-:IS is parent company of D:Fl\/.IC, and at all times relevant to this
complaint, the joint-employer of Plaintiff. Defendant is located at and service
of process at 28464 Marlboro Avenue, 13aston, Mjaryland 21601-2732.
Defendant Terri Daly is PHR Human Resources Generalist at QjI~IS
disregarded Plaintiff’s written accommodation plan in performing injurious
hiring practices which exacerbated Plaintiff’s health conditions is subject to

process of service at 28464 l\/Iai'lboro Avenue, Easton, _Maryland 21601-2732.

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BACKGROUND

Obamacare roll-0 ut of historical significance

ll. Plaintiff was among a select number in Delaware who earned and was

12.

13.

awarded Delaware Departrnent of insurance (“DOI”_) Health l\/larketplace
Guide licensure to be able to give in-person help to consumers to get
healthcare coverage at healthcare.gov online or by telephone Plaintiff
completed all required certifications and training which included but not
limited to State and Federal Crimina.l Background checks; QHP Training; and
Federal Training and Certif`lcate.

Although encumbered with system failures and unbridled public cynicism
surrounding the Affordable Care Act (“ACA”), the marketplace guide
program was a proven success and continues to be an integral ACA
component, today.

llaving satisfied its year One grant requirements DFM.C was awarded its
contingency 2nd Year term. DFl\/_lC made a public announcement of its grant

renewal l\/lay 12, 2014.

Plaintijj‘ ’s public firing

14.

May 12, 2014, Plaintiff was ordered to attend a meeting of dozens of A.thena

employees assigned to DFM`.C that was held during work hours at a hotel in

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15.

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18.

19.

Middletown, DE requiring transport to and from DFl\/IC Delaware City office
location.
lt was at the meeting where Plaintiff was given her termination notice in
w_r_iting, stripped of her DOI issued license and company mobile telephone
then, transported back to DFl\/IC office by Terri Daly.
Upon arrival at 250 5th Street, Delaware City address, DFl\/IC without notice
changed building security alarm code; setting off building alarm for an
extended period of time.
The ruckus attracted attention ofinhabitants both professionals and patrons at
the mixed-use facility. Mjs. Daly personally supervised Plaintiff”s desk clean-
out and escorted Plaintiff to the parking lot then stood guard until Plaintiff
was off premises
Plaintift`complained to Daly by email on or about May 13, 2014 about
employer’s breaches surrounding compensation as well as hiring and license
reinstatement l\/l'_ay 22, 2014 Daly replied by email, “In light of contract
reductions by our client, the State of Delaware, and our overall business
conditions, your request for reinstatement is denied at this time.”

CLAIMS AN`_I) jDAMAGES
Base upon the above allegations Plaintiff maintains the following legal claims

against Defendants:

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26.

C()UNT l AGAINS"I` DEFI+`,NI)AN'I`S I)FMC aan Ql-lS
(ljmplied covenant of good faith and fair dealing)

Plaintiff incorporates herein by reference numbered paragraphs 1-19 above, as
if specifically set forth herein.
By written ag.reement, Plaintiff was hired as an exempt salaried employee
eligible to participate in DFMC group benefit programs
Plaintiff was made aware by Defendants of the `Health Marketplace Gu'ide
program 2-yea.r contingency term whereby Plaintiff’ s employment would
continue through the term of the grant
Defendants’ w'illful, wanton actions of public firing deprived Plaintiff of
employment rights and privileges
Plaintiff is entitled to compensatory and punitive damages
COUNT I_I AGAINST ALL DEFENDANTS

(Violation of Delaware Code Title 19 Chapter 11 Section 1108 (3))
Plaintiff incorporates herein by reference numbered paragraphs ]-24 above, as
if specifically set forth her‘ein.
Defendants failed to provide notice to Plaintiff that she would be deprived of
unemployment compensation in violation of Labor Provisions Chapter 1 1
Wage Payment and Collection whereby Defendants must make available to
each employee in writing or through a poster notice maintained in a place

accessible to the employees and where they normally pass employment

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27.

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31.

practices and policies with regard to vacation, pay, sick leave and comparable
matters Defendants deprived Plaintiff of her right to receive unemployment
compensation for which she was eligible

`Defendants in their own hiring agreement without exceptions promised
Plaintiff that she would “be eligible to participate in Delmarva Foundation’s
(Delmarva) group benefit programs, which represent a significant addition to
your compensation.”

Plaintiff is entitled to compensatory and punitive damages

COU NT III AGAINST ALL I)EFENDANTS
(Defamation)

Plaintiff incorporates herein by reference numbered paragraphs 1-28 above,
as if specifically set forth `herein.

Def`endants defamed Plaintiff by making it mandatory that Plaintiff attend an
Athena employee meeting for the specific purpose of terminating _Plaintiff’s
employment at DFl.\/IC.

Defendants defamed Plaintiff by setting off DFMC office building alarm
midday and bringing attention to Plaintiff being escorted to and from the
building by Daly. `During the entire time while Plaintiff’s personal
belongings were being loaded into her vehicle and until Plaintiff drove away

from the premises Daly showed her presence

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32.

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38.

Plaintiff had full access to the building and at all times during her
employment entered and exited without any supervision or escort.
Defendants are liable for putting Plaintiff in a false-light by engaging in
activity undeserving to Plaintiff in her career as Project Supervisor and
licensed Health l\/Iarketplace Guide under “Obamaca.re”.

Defendants are liable for special damages to Plaintiff

C()UNT IV AGAINST ALL DEFENDANTS
(Disability and Retaliation)

Plaintiff incorporates herein by reference numbered paragraphs 1-33 above,
as if specifically set forth herein.

lt is not disputed that Defendants failed to accommodate Plaintiff’s disability
and that Plaintiff engaged in protected activity surrounding workplace
injury.

Defendants denied Plaintiff’ s reimbursement request for her medical co-pay
for workplace injury medical care on l\/.larch 22, 2014 and denied Plaintiff’s
hiring reinstatement on l\/lay 22, 2014.

Defendants were adverse to Plaintiff reporting an Athena employee slip and
fall in January 2014 at DF`l\/IC office parking lot.

'1`.`here is a temporal proximity between Defendants’ actions adverse to

Plaintiff

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39.

Disability discrimination and retaliation is prohibited by both State and
13 ederal employment discrimination law whereby Plaintiff is entitled to
compensatory, pecuniary, and punitive damages as well as attorney’s fees

and costs

PRAYER FOR RE_LIEF

Wheref`ore, for the forgoing reasons, Plaintiff 1\/1. Denise Tolliver prays that the

Court upon verdict thereof enter judgment against Defendants for all damages

awarded as a. result ofDefendants’ deprivation of Plaintiff’s rights under State and

federal law:

ii.

iii.

iv.

Enter judgment against the Defendants

Enter a compensatory judgment against Defendants for unpaid
unemployment ($7,800) and medical co-pay expense reimbursement ($15)
in the amount of $7,8 l 5.

Enter a declaratory judgment declaring the acts of Defendan_ts’ to be a
violation of Plaintiff”s rights

_13nter judgment against individual Defendant and employer Defendants
jointly and severally, for compensatory damages in favor of Plaintiff.
Enter separate judgments against individual Defendants and employer
Defendants for punitive damages at an amount deemed appropriate by the

court.

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vi. Enter a judgment against individual Defendant and employer Defendants for
Plaintiff s attorney fees and costs as well as pre and post judgment interest
for this action.

vii. Require such other further relief as the Court deems just and proper under

the circumstances

'/"')_ ./,’f`}l_.'___ -- --)
M. l.)f:nise Tolliver
Pro Se Plaintiff
109 Gardengate Road
Camden, D.E 19934
mdtolliver@hotmail.com
(302) 242-1482

 

November 8, 2017

